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 8                      IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11   ASHTON FORBES,                              )   No. 20-CV-00998-BAS-JLB
                                                 )
12                       Plaintiff,              )   JOINT MOTION FOR PLAINTIFF TO
                                                 )   FILE A SECOND AMENDED
13      v.                                       )   COMPLAINT, AND SETTING THE
                                                 )   COUNTY DEFENDANT(S)’ RESPONSE
14   NICK MACCHIONE, FACHE, in his               )   DATE
     official capacity as Director for San Diego )   [FRCP 15(a)(2)-(3); Standing Order for
15   County Health and Human Services;           )   Civil Cases, § 7]
     HELEN ROBBINS-MEYER, in her                 )
16   official capacity as Chief Administrative )
     Officer and Director of Emergency           )   Judge:      Hon. Cynthia A. Bashant
17   Services for the County of San Diego, DR. )     Mag. Judge: Hon. Jill L. Burkhardt
     WILMA WOOTEN, in her official               )
18   capacity as public health officer of San    )   Action Filed:      May 31, 2020
     Diego County Health and Human Services,)        Trial Date:        None Set
19   COUNTY OF SAN DIEGO, SAN DIEGO )
     COUNTY BOARD OF SUPERVISORS. )
20                                               )
                         Defendants.             )
21                                               )
                                                 )
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23
     I.    INTRODUCTION AND SUMMARY OF REQUEST
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           For the reasons explained below, the parties stipulate and jointly move this Court
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     for an order permitting Plaintiff Ashton Forbes to file on or before June 25, 2020 a
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     Second Amended Complaint (“SAC”) that would, inter alia, add certain State officials as
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     defendants, and omit as defendants certain County of San Diego officials who were
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 1   named in the First Amended Complaint (“FAC”). Relatedly, the parties move the Court
 2   to permit the County of San Diego to file its responsive pleading in this action (e.g., a
 3   Rule 12(b)(6) motion) on or before July 16, 2020 (21 days from the June 25 deadline for
 4   filing the SAC, rather than the default 14 days under Rule 15(a)(3)) , as the attorney
 5   handling the County’s defense in this action (Senior Deputy County Counsel Timothy
 6   M. White) has a pre-planned, prepaid, non-refundable, out-of-state, family vacation
 7   scheduled for June 25 through July 4, 2020.
 8   II.    RELEVANT BACKGROUND AND REASONS FOR JOINT MOTION
 9          On May 31, 2020, Plaintiff filed this action to challenge the County of San Diego’s
10   requirement (contained in a COVID-19 public health order) that individuals wear face
11   coverings in specified situations. [ECF 1.] Five days later, on June 5, 2020, Plaintiff filed
12   his FAC, naming as defendants the County of San Diego and several “County-Related
13   Defendants”1 (County officials sued in their official capacity). [ECF 3.] Based on the
14   dates of service of process, the earliest any of the defendants are required to file a
15   response to the FAC is June 25, 2020.
16          On June 18, 2020, the State of California, acting through Governor Gavin Newsom
17   and State Public Health Officer Sonia Angell, issued a public health “Guidance” that
18   applies statewide and mandates that individuals wear face coverings when, inter alia,
19   they are in indoor public spaces, and when they are outdoors in a public space if it is not
20   feasible to maintain at least six feet of separation from other persons outside one’s
21   household. 2 That same day, the County of San Diego’s Public Health Officer issued an
22   1
      The “County-Related Defendants” named in the FAC are: (i) Nick Macchione, who was
23   sued in his official capacity as the Director of the County’s Health & Human Services
24   Agency; (ii) Helen Robbins-Meyer, who was sued in her official capacity as the County’s
     Chief Administrative Officer and Director of Emergency Services; (iii) Wilma Wooten,
25
     who was sued in her official capacity as the County’s Public Health Officer; and (iv) the
26   San Diego County Board of Supervisors.
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     2
28       www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/COVID-
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 1   amended County Public Health Order (effective June 19, 2020) that incorporated the new
 2   statewide face-covering requirement.3
 3         In light of the State issuing a statewide face-covering requirement (which the
 4   County has incorporated into its Public Health Order), Governor Newsom and State
 5   Public Health Officer Angell appear to be necessary parties, and thus Plaintiff desires to
 6   file a SAC that would add Governor Newsom and State Public Health Officer Angell as
 7   defendants in their official capacities. Further, in his SAC, Plaintiff will keep the County
 8   of San Diego (the public entity itself) as a defendant, but will not keep the County-
 9   Related Defendants (i.e., the County officials and Board of Supervisors named in the
10   FAC) as defendants.
11         Neither the County nor the County-Related Defendants (who will not be named in
12   the SAC) have appeared in this action. Based on the service of process dates, the earliest
13   deadline for a County defendant to file a responsive pleading is June 25. Accordingly, as
14   Plaintiff’s SAC will supersede the FAC and will be filed by June 25, if this joint motion
15   is granted the County will file its initial responsive pleading in response to the SAC,
16   rather than the FAC. Under Rule 15(a)(3), the County normally would have 14 days (or
17   until July 9, 2020, assuming the SAC is filed and served on June 25) to file its response to
18   the SAC. But the parties request that the Court allow the County to file its response to the
19   SAC by July 16, 2020 – 21 days instead of 14 days. That is because the attorney
20   handling this litigation for the County – Senior Deputy County Counsel Timothy M.
21   White – has a prepaid, non-refundable, out-of-state, family vacation booked and planned
22   from June 25 through July 4, and thus requests an additional week to review the SAC
23   upon his return, and to research, draft, and file a responsive pleading (like a Rule 12(b)(6)
24
25   19/Guidance-for-Face-Coverings_06-18-2020.pdf
26
     3
       See County’s Public Health Order, effective June 19, 2020, at ¶ 9, available at
27
     https://www.sandiegocounty.gov/content/dam/sdc/hhsa/programs/phs/Epidemiology/Heal
28   thOfficerOrderCOVID19.pdf
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 1   motion).
 2         In light of the above, the parties stipulate and jointly move the Court for an Order
 3   as follows:
 4              1. Permit plaintiff Ashton Forbes to file a SAC on or before Thursday, June
 5                 25, 2020, to:
 6                    a. add as defendants (i) Gavin Newsom, in his official capacity as
 7                       Governor of the State of California, and (ii) Sonia Angell, in her
 8                       official capacity as Public Health Officer for the State of California,
 9                       in light of the mandatory guidance issued by Governor Newsom and
10                       Dr. Angell on June 18, 2020 (“Guidance”), requiring face coverings
11                       to be worn by all individuals present in the State while in indoor
12                       public places (as specified), and while in outdoor public places where
13                       maintaining a physical distance of six feet from other persons
14                       (excluding members of one’s household) is not feasible, among other
15                       situations specified in the Guidance; and
16                    b. dismiss without prejudice (by omitting from the SAC) the following
17                       “County-Related Defendants” named in the FAC: (i) Nick
18                       Macchione, who was sued in his official capacity as the Director of
19                       the County’s Health & Human Services Agency; (ii) Helen Robbins-
20                       Meyer, who was sued in her official capacity as the County’s Chief
21                       Administrative Officer and Director of Emergency Services; (iii)
22                       Wilma Wooten, who was sued in her official capacity as the County’s
23                       Public Health Officer; and (iv) the San Diego County Board of
24                       Supervisors.
25              2. Grant defendant County of San Diego until Thursday, July 16, 2020 to file
26                 its response in this action (i.e., its response to the SAC), in light of the
27                 handling attorney from the County Counsel’s office (Senior Deputy County
28                 Counsel Timothy M. White) having a prepaid, non-refundable, out-of-state
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 1                  family vacation scheduled from June 25, 2020 through July 4, 2020, and
 2                  requiring sufficient time to research, prepare, and file a response to the SAC
 3                  (most likely a Rule 12(b)(6) motion to dismiss).
 4          The parties stipulate and jointly move the Court for the above-requested relief
 5   under Federal Rules of Civil Procedure, Rule 15(a)(2) (which provides that a party may
 6   amend its pleading with the opposing party’s written consent), Rule 15(a)(3) (which
 7   authorizes the Court to provide a party more than 14 days to respond to an amended
 8   pleading), and CivLR 7.2 and this Court’s Standing Order for Civil Cases § 7 (which
 9   require the parties’ stipulation to be filed as a “joint motion” requiring Court approval).
10          Good cause exists to grant Plaintiff leave to file his SAC, because Plaintiff is
11   challenging the legality of current face-covering requirements, and seeks to enjoin the
12   requirement that he wear a face covering in specified situations, and the State of
13   California (through Governor Newsom and Public Health Officer Angell) on June 18,
14   2020 issued a mandatory Guidance document imposing a face-covering requirement
15   statewide, thus making the State officials necessary parties.
16          Further, good cause exists to permit plaintiff to file his SAC, in which Plaintiff will
17   not rename as defendants the County-related official-capacity defendants other than the
18   County of San Diego itself, because “[a]n official-capacity suit is, in all respects other
19   than name, to be treated as a suit against the entity. It is not a suit against the official
20   personally, for the real party in interest is the entity.” [Enriquez v. City of Fresno, No. CV
21   F 10-0581 AWI DLB, 2010 WL 2490969, at *5 (E.D. Cal. June 16, 2010).] Accordingly,
22   “[i]f both [the official capacity officer and the local government entity] are named, it is
23   proper upon request for the Court to dismiss the official-capacity officer, leaving the local
24   government entity as the correct defendant.” [Luke v. Abbott, 954 F.Supp. 202, 204 (C.D.
25   Cal. 1997).]
26          Lastly, good cause exists to grant the parties’ request that the County of San Diego
27   be given until Thursday, July 16, 2020 to file its response to the SAC (instead of the
28   default period of 14 days under Rule 15(a)(3)), as the County’s handling attorney in this
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 1   case (Senior Deputy County Counsel Timothy M. White) has a pre-planned, prepaid,
 2   non-refundable, out-of-state family vacation scheduled from June 25, 2020 through July
 3   4, 2020, and thus requires additional time to review the SAC and research, draft, and file
 4   a responsive pleadings (including a Rule 12(b)(6) motion to dismiss). This short amount
 5   of additional time for the County to respond to the SAC will not prejudice any party or
 6   cause unnecessary delay, as the County’s response will be filed before the newly-added
 7   State defendants’ response to the SAC will be due under Rule 12.
 8         Accordingly, the parties respectfully request that this joint motion is granted.
 9
10   DATED: June 19, 2020            ARETE LAW A.P.C.
11
12                                   By    s/Philip Mauriello, Jr.,
                                          PHILIP MAURIELLO, JR., ESQ.
13                                        Attorneys for Plaintiff,
                                          ASHTON FORBES
14                                        E-mail: phil@arete.law
15
16
17   DATED: June 19, 2020            THOMAS E. MONTGOMERY, County Counsel
18
19                                   By    s/Timothy M. White
                                          TIMOTHY M. WHITE, Senior Deputy
20                                        Attorneys for Defendants, NICK MACCHIONE,
                                          FACHE, in his official capacity as Director for San
21                                        Diego County Health and Human Services; HELEN
                                          ROBBINS-MEYER, in her official capacity as
22                                        Chief Administrative Officer and Director of
                                          Emergency Services for the County of San Diego;
23                                        DR. WILMA WOOTEN, in her official capacity as
                                          public health officer of San Diego County Health
24                                        and Human Services; COUNTY OF SAN DIEGO;
                                          and SAN DIEGO COUNTY BOARD OF
25                                        SUPERVISORS
                                          E-mail: timothy.white@sdcounty.ca.gov
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 1                              SIGNATURE CERTIFICATION
 2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 3   Policies and Procedures Manual, I hereby certify that the content of this document is
 4   acceptable to Senior Deputy County Counsel Timothy M. White, counsel for defendants
 5   NICK MACCHIONE, FACHE, in his official capacity as Director for San Diego County
 6   Health and Human Services; HELEN ROBBINS-MEYER, in her official capacity as
 7   Chief Administrative Officer and Director of Emergency Services for the County of San
 8   Diego; DR. WILMA WOOTEN, in her official capacity as public health officer of San
 9   Diego County Health and Human Services; COUNTY OF SAN DIEGO; and SAN
10   DIEGO COUNTY BOARD OF SUPERVISORS; and that I have obtained the
11   authorizations of Mr. White to affix his electronic signature to this document.
12
13                                                s/Philip Mauriello, Jr.
                                                  Philip Mauriello, Jr.
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